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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                     DUBLIN DIVISION

DAVID JONATHAN KENNEDY,                        )
                                               )
              Petitioner,                      )
                                               )
       v.                                      )           CV 321-033
                                               )
WARDEN ANTOINE CALDWELL,                       )
                                               )
              Respondent.                      )
                                           _________

                                           ORDER
                                           _________

       The above-captioned petition for a writ of habeas corpus, filed pursuant to 28 U.S.C.

§ 2254, challenges a judgment of conviction entered in the Superior Court of Crisp County,

which is located in the Middle District of Georgia. It is the practice of this Court to transfer

an action attacking a conviction to the District in which the original criminal proceedings

were conducted. See 28 U.S.C. § 2241(d). Therefore, the Court ORDERS the transfer of

this action to the United States District Court for the Middle District of Georgia for further

consideration. The Court DIRECTS the Clerk to immediately forward the file to that

District.

       Petitioner should be aware that all future filings in this case, including the response to

the May 5, 2021 filing fee deficiency notice, should be made with the Clerk, U.S. District

Court, 201 W. Broad Ave., Albany, Georgia 31701.

       SO ORDERED this 5th day of May, 2021, at Augusta, Georgia.
